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                                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF VIRGINIA
                                                   ______________________
                                                   RICHMOND               DIVISION

____________________________________
TRUSTEES OF THE PLUMBERS AND STEAMFITTERS UNION LOCAL NO. 10 APPRENTICESHIP FUND




                          vs.                                                           Civil/Criminal Action No.______________
                                                                                                                 3:24-cv-00180
____________________________________
VICTORIA NAPKY


                                FINANCIAL INTEREST DISCLOSURE STATEMENT

         Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
______________________________________________________________________________
in the above captioned action, certifies that the following are parents, trusts, subsidiaries and/or
affiliates of said party that have issued shares or debt securities to the public or own more than
ten percent of the stock of the following:
______________________________________________________________________________
______________________________________________________________________________

                                                                                   Or

        Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
______________________________________________________________________________
in the above captioned action, certifies that the following are parties in the partnerships, general
or limited, or owners or members of non-publicly traded entities such as LLCs or other closely
held entities:
______________________________________________________________________________
______________________________________________________________________________

                                                                                   Or

           Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualifications or recusal, the undersigned counsel for
______________________________________________________________________________
 Plaintiff
in the above captioned action, certifies that there are no parents, trusts, subsidiaries and/or
affiliates of said party that have issued shares or debt securities to the public.

____________________
03/11/2024                                                                              ____________________________________
                                                                                        /s/Jacob N. Szewczyk
Date                                                                                    Signature of Attorney or Litigant
                                                                                                             Plaintiff
                                                                                        Counsel for __________________________




Rev. 03/12/19
